           Case 1:02-cr-05301-DAD Document 481 Filed 02/06/06 Page 1 of 1


1

2

3

4

5
                IN THE UNITED STATES DISTRICT COURT FOR THE
6
                         EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA,         )    CR. F-02-5301 OWW
                                       )
9                     Plaintiff,       )
                                       )
10        v.                           )
                                       )
11   DANIEL BOOBAR,                    )
                                       )
12                                     )
                      Defendant.       )
13                                     )

14                                     ORDER

15        The parties have agreed upon the following filing and

16   hearing schedule for the defendant’s motion for new trial.
17             Government Response             March 13, 2006
18             Defendant’s Reply               March 27, 2006
19             Hearing                         April 3, 2006 at 1:30 p.m.
20
          It is ordered that this schedule be followed.         It is further
21
     ordered that any delay resulting from this continuance shall be
22
     excluded in the interests of justice under 18 U.S.C. §§
23
     3161(h)(1)(F), (h)(8)(A), and (h)(8)(B)(I).
24

25
     Dated: February 3, 2006                        /s/ OLIVER W. WANGER
26                                                  Oliver W. Wanger
                                                    U.S. District Judge
27

28
                                           1
